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 13
 14                           UNITED STATES DISTRICT COURT
 15                          CENTRAL DISTRICT OF CALIFORNIA
 16 ANDRES RAMIREZ, as an individual,             CASE NO. CV 17-08580 JAK (SSx)
                                                                            st
                                                  Hon. John A. Kronstadt - Ctrm. 10B, 1 Fl.
 17             Plaintiff,                        (First St. Courthouse)
                                                  Hon. Mag. Suzanne H. Segal - Ctrm. 590, 5th Fl.
 18                 v.                            (Roybal)

 19 CITY OF LOS ANGELES, a municipal              JOINT STIPULATION TO SET
    corporation, LOS ANGELES POLICE               ASIDE DEFAULTS AS TO
 20 DEPARTMENT, a public entity,                  OFFICERS HECTOR CORTEZ,
    CHIEF CHARLIE BECK, in his                    DANIEL HUGHES AND
 21 official capacity, OFFICER HECTOR             AARSHIVIR SHALDJIAN
    CORTEZ, individually and in his
 22 official capacity as an Police Officer,       [Proposed] Order filed concurrently
    OFFICER AARSHIVIR SHALDJIAN,                  herewith
 23 as an individual and in his official
    capacity as an Police Officer, OFFICER
 24 DANIEL HUGHES individually and in
    his official capacity as an Police
 25 Officer, ALLEN SARKISYAN, as an
    individual, LEVON ARUSHANYAN,
 26 as an individual, and DOES 1-50
 27             Defendants.
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  1        Defendants CITY OF LOS ANGELES, LOS ANGELES POLICE
  2 DEPARTMENT and CHIEF CHARLIE BECK (“Defendants”) and Plaintiff
  3 ANDRES RAMIREZ (“Plaintiff”), by and through their counsel of record, hereby
  4 stipulate and agree as follows:
  5
  6        WHEREAS, on February 2, 2018, Counsel for Defendants, Senior Assistant
  7 City Attorney Cory M. Brente and Deputy City Attorney Kelly N. Kades met and
  8 conferred with Plaintiff’s counsel, Michael Devereux on the defaults that were
  9 entered by the Clerk on January 31, 2018 against Officers Hector Cortez, Daniel
 10 Hughes and Aarshivir Shaldjian (see Document No. 28 in civil docket for this case).
 11 The parties agreed that the defaults should not have been entered. It is Defendants’
 12 position that Officers Hector Cortez, Daniel Hughes and Aarshivir Shaldjian were
 13 not properly served on December 26, 2017, as they were not personally served (or
 14 served via substituted service) with the Summons and Complaint at their place of
 15 business (Northeast Community Police Station, 3353 San Fernando Road, Los
 16 Angeles, CA 90065). Rather, copies of the documents were left at (and mailed to)
 17 the Los Angeles City Clerk’s Office, 200 N. Spring Street, #395, Los Angeles,
 18 California 90012 (see Document Nos. 17-19 in civil docket for this case). Plaintiff’s
 19 counsel has agreed to serve the Officers at their place of business (Northeast
 20 Community Police Station).
 21
 22        WHEREAS, Federal Rule of Civil Procedure 55(c) provides that an entry of
 23 default may be set aside upon a showing of good cause, and good cause having been
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  1 shown by Defendants to set aside the defaults, Plaintiffs and Defendants respectfully
  2 request that the Court set aside and vacate the defaults as to Officers Hector Cortez,
  3 Daniel Hughes and Aarshivir Shaldjian.
  4
  5        IT IS SO STIPULATED.
  6
  7 DATED: February 14, 2018             WEX LAW
  8
  9
                                         By:                      /s/
 10                                            Michael S. Devereux, Esq.

 11                                            Attorneys for Plaintiff ANDRES
                                               RAMIREZ
 12
 13
 14 DATED: February 14, 2018             MICHAEL N. FEURER
                                         City Attorney
 15
 16
                                         By:                       /s/
 17                                            Kelly N. Kades, Deputy City Attorney
 18                                            Attorneys for Defendants CITY OF LOS
                                               ANGELES, LOS ANGELES POLICE
 19                                            DEPARTMENT and CHIEF CHARLIE
                                               BECK
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